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16
                              UNITED STATES DISTRICT COURT
17
                          CENTRAL DISTRICT OF CALIFORNIA
18
       UNITED STATES                                    Case No. 2:23-cr-00599-MCS
19
20                        Plaintiff,                    Hon. Mark C. Scarsi

21            vs.                                       MR. BIDEN’S COUNTER-
                                                        DESIGNATIONS FROM HIS
22     ROBERT HUNTER BIDEN,                             MEMOIR
23                        Defendant.
                                                        Hearing Date: September 5, 2024
24                                                      Hearing Time: 9:00 a.m.
25                                                      Courtroom:    7C
26
27
28

                       DEFENDANT’S COUNTER-DESIGNATIONS FROM HIS MEMOIR
                                       CASE NO. 2:23-CR-00599-MCS-1
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1             Defendant Robert Hunter Biden, by and through his counsel of record, hereby
2      submits his counter-designations related to the government’s Exhibit 227 containing
3      excerpts of Mr. Biden’s memoir, Beautiful Things. In its notice, the Special Counsel
4      misrepresents the events surrounding the defense’s counter-designation of statements
5      in the memoir and intentionally omits the fact that on September 3, 2024, Mr. Biden’s
6      counsel informed the Special Counsel that “we intend to offer counter-designations”
7      and requested that the Special Counsel provide a table with their designations. D.E.
8      227.
9             At the final pretrial conference, the Court advised: “In order to streamline that
10     process, I'm wondering whether we couldn’t have the government identify for the
11     defense, maybe in a table form, all the statements you're intending to admit of the
12     defendant, and then ask the defendant to respond to that with the statements the
13     defendant believes ought to come in for the rule of completeness. And then the Court
14     can make rulings prior to getting started.” Aug. 21, 2024 Tr. 102:9-15. The Special
15     Counsel represented to the Court that they had already done this, id. 102:18 (MR. WISE:
16     “Your Honor, we already did this.”), although the defense has never received anything
17     in table form like the Court suggested on August 21st. Instead, to date, the Special
18     Counsel has only provided excerpts of the pages from the memoir in several iterations
19     culminating in one composite exhibit (Exhibit 227).
20            Despite the order of events suggested by the Court, in their September 3, 2024
21     email, the Special Counsel asked the defense to first provide its counter-designations in
22     a table form so that the Special Counsel “can create a table.” The Special Counsel then
23     filed a notice telling the Court that the defense has not submitted any counter-
24     designations of the memoir. D.E. 227.
25            The defense created the attached table including certain statements from Exhibit
26     227 and cross-designated additional statements which should be included under the
27     “rule of completeness” and Federal Rule of Evidence 106. In the third column, the
28     defense provided an explanation for the requested cross-designations.                 At
                                                  1
                         DEFENDANT’S COUNTER-DESIGNATIONS FROM HIS MEMOIR
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1      approximately 8:30 p.m. on September 4th, defense counsel emailed this table to the
2      Special Counsel requesting their position on the cross-designations. The Special
3      Counsel responded that they cannot complete this by the end of tonight. Therefore, the
4      table is being provided without the Special Counsel’s position on the cross-
5      designations.
6            Additionally, the page numbers used by the defense and the Special Counsel
7      differ in certain places by a few pages because it appears that the Special Counsel might
8      be referring to the hardback of the memoir whereas the defense is referring to the
9      paperback version; any discrepancies in the page numbers can be adjusted for
10     consistency once the Court rules on the statements.
11
       Dated: September 4, 2024                        Respectfully submitted,
12
13                                                     /s/ Mark Geragos
                                                       Mark J. Geragos
14                                                     Tina Glandian
15                                                     Setara Qassim
16                                                     Angela M. Machala
17                                                     Abbe David Lowell
                                                       Christopher D. Man
18
19                                                     Attorneys for Robert Hunter Biden
20
21                                                                                                 A
                                                                                                   N
22                                                                                                 G
                                                                                                   E
23                                                                                                 L
                                                                                                   A
24                                                                                                 M
25                                                                                                 .
                                                                                                   M
26                                                                                                 A
                                                                                                   C
27                                                                                                 H
                                                                                                   A
28                                                                                                 L
                                                  2                                                A
                         DEFENDANT’S COUNTER-DESIGNATIONS FROM HIS MEMOIR
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1
2              Government’s              Defendant’s Counter-              Reason for           Government’s
               Designations                  Designations                   Counter-              Position
3                                                                         Designations
4       I’m also an alcoholic and a      That deep descent came not       To provide a
        drug addict. I’ve bought         long after I hugged my           timeline      and
5       crack cocaine on the streets     brother, Beau, the best          context for the
        of Washington, DC, and           friend I’ve ever had and the     peak of Mr.
6       cooked up my own inside a        person I loved most in the       Biden’s
        hotel bungalow in Los            world, as he took his last       substance abuse
7       Angeles.     I’ve been so        breath. Beau and I talked        and      addiction
8       desperate for a drink that I     virtually every day of our       which            is
        couldn’t make the one-block      lives. While we argued as        discussed in great
9       walk between a liquor store      adults as much as we             detail in Chapter
        and my apartment without         laughed, we never ended a        Nine (almost the
10      uncapping the bottle to take     conversation without one of      entirety of which
        a swig. In the last five years   us saying, “I love you,” and     the        Special
11      alone, my two-decades-long       the other responding, “I         Counsel seeks to
12      marriage has dissolved, guns     love you, too.” After Beau       admit).
        have been put in my face,        died, I never felt more
13      and at one point I dropped       alone. I lost hope. I’ve
        clean off the grid, living in    since pulled out of that dark,
14      $59-a-night Super 8 motels       bleak hole.
        off I-95 while scaring my
15      family even more than            It’s an outcome that was
16      myself.                          unthinkable in early 2019.
                                         My recovery never could
17      P. 5                             have happened without the
                                         unconditional love of my
18                                       father and the everlasting
                                         love of my brother, which
19
                                         has carried on after his
20                                       death. The love between
                                         me and my father and
21                                       Beau—the most profound
                                         love I’ve ever known—is at
22                                       the heart of this memoir. . .
23
                                         My dad has often said that
24                                       Beau was his soul and I am
                                         his heart. That about nails
25                                       it. I thought of those words
                                         often as they related to my
26                                       life. Beau was my soul, too.
27                                       I’ve learned that it’s
                                         conceivable to go on living
28                                       without a soul as long as
                                                           3
                            DEFENDANT’S COUNTER-DESIGNATIONS FROM HIS MEMOIR
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1                                       your heart is still beating.
                                        But figuring out how to live
2                                       when your soul has been
3                                       ripped from you—when it
                                        has been so thoroughly
4                                       extinguished that you find
                                        yourself buying crack in the
5                                       middle of the night behind a
                                        gas station in Nashville,
6                                       Tennessee, or craving the
7                                       tiny liquor bottles in your
                                        hotel minibar while sitting
8                                       in a palace in Amman with
                                        the king of Jordan—well,
9                                       that’s a more problematic
                                        process.
10
11                                   P. 5-6
12      As I began writing this book When I was not quite a year        To explain Mr.
        from the relative calm of my sober, as I worked on the          Biden’s state of
13      home office, in November early parts of this book,              mind      as    he
        2019. . .”                   crack remained the first           regained       his
14                                   thing I thought about every        sobriety in 2019
15      P. 1                         morning when I woke up. I          and to show that
                                     became like some feverish          he still struggled
16                                   war reenactor, meticulously        with his past
                                     going through the rituals of       addiction during
17                                   my addiction, pathetic step        this time.
                                     by pathetic step—minus the
18                                   drug, and with Melissa
19                                   asleep beside me. I reached
                                     an arm over to the side table
20                                   next to the bed and fumbled
                                     around for a piece of crack.
21                                   I imagined finding one, then
                                     imagined inserting it into a
22                                   pipe, drawing it to my lips,
23                                   igniting it with a lighter, and
                                     then     experiencing        the
24                                   sensation of complete and
                                     utter well-being.
25
                                        Pp. 7-8
26                                      Beau was Delaware’s two- To provide a
                                        term attorney general and timeline      of
27                                      father of a young daughter Beau’s  illness
28                                      and son when doctors

                                                          4
                            DEFENDANT’S COUNTER-DESIGNATIONS FROM HIS MEMOIR
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1                                         diagnosed       him    with which resulted in
                                          glioblastoma multiforme— his death in 2015.
2                                         brain cancer. It likely had
3                                         incubated inside him for at
                                          least the previous three
4                                         years. In the fall of 2010,
                                          about a year after he
5                                         returned from deployment
                                          in Iraq, Beau complained of
6                                         headaches, numbness, and
7                                         paralysis.    At the time,
                                          doctors     attributed   his
8                                         symptoms to a stroke. We
                                          monitored Beau’s progress
9                                         after that.       Something
                                          seemed off.
10
11                                 Pp. 12-13
        I walked straight to my carIt has taken me more than             To explain why
12      and slipped inside. I was  forty years to acknowledge            Mr. Biden sought
        shaking and ashamed. Then Ithat original loss, address           out alcohol and
13      lit up. Thirty seconds later, I
                                   that    original     trauma,          drugs and felt a
14      was numbed and flying and  recognize that original pain.         need to be
        no longer ashamed at all—  And it has taken that long            “numbed.”
15      until the next time.       for me to understand that
                                   my doing so isn’t a betrayal
16      For months and months of those who tried their
        afterward—for most of the mightiest to save Beau and
17      next year—there was always me from the worst of it.
18      a next time.
                                   P. 56
19      P. 191                            . . . The drinking was a
20                                        revelation. It seemed to
                                          solve every unanswered
21                                        question about why I felt
22                                        the way I felt. It took away
                                          my       inhibitions,     my
23                                        insecurities, and often my
                                          judgment. It made me feel
24                                        complete, filling a hole I
                                          didn’t even realize was
25                                        there—a feeling of loss and
26                                        my sense of not being
                                          understood or fitting in.
27
                                          P. 71
28
                                                           5
                             DEFENDANT’S COUNTER-DESIGNATIONS FROM HIS MEMOIR
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1       I was smoking crack every     I looked into my dad’s yes        To explain why
        fifteen minutes.              and saw an expression of          Mr. Biden was
2       They'd live off me until I said
                                      despair, an expression of         “so lost in [his]
3       otherwise. As long as they    fear, even—fear that I            addiction” and
        didn't touch my drugs—or      wasn’t going to be able to        the extent of the
4       interfere with my ability to  save myself. I knew he            pain he was
                                      wouldn’t leave until I
        use, or create a scene that cut                                 experiencing at
5       short my ability to stay at the
                                      agreed to do something—           the time.
        hotel—I didn't give a damn.   that at this point he’d take
6       Most of them came with        control physically in some
7       their own drugs and focused   way if he had to. I wanted to
        on their own addictions:      avoid that at all costs. I was
8       heroin,     meth,     drinkingin no shape to have an
        themselves to death. If I ran emotional discussion about
9       low on mine, I joined in with Beau or my pain or his pain
        theirs. Misery really does    or the utter depression and
10      love company.                 hopelessness I felt. I knew
11                                    he was right—I was
        P. 197                        anything but fucking okay. I
12                                    was      locked      in     an
        Yet I was so lost in my unrelenting drinking binge
13      addiction that I watched the that was not in any way
        crowd rob me blind and sustainable.
14
        didn't care enough to stop
15      them-not as long as the cycle P. 115
        of drugs, sex, exhaustion,
16      and exhilaration repeated . . . I’d attempt to fade to
        itself over and over.         black through alcoholism or
17                                    drug addiction . . .
18      P. 199                        Disappearing was the most
                                      profound betrayal of the
19                                    love that existed between
                                      us. It’s what I tried instead
20                                    of suicide.
21                                        P. 116
22
                                          Walking into a park in a
23                                        high-crime neighborhood
                                          to buy crack at 4 a.m. was
24                                        no different than playing
                                          Russian roulette with two
25                                        shells in the chamber. In
26                                        some places, it was like
                                          playing with five shells—
27                                        and still, I was willing to
                                          spin the chamber again and
28                                        again.
                                                           6
                             DEFENDANT’S COUNTER-DESIGNATIONS FROM HIS MEMOIR
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1
                                  P. 154
2       I was smoking crack every I would turn on the TV, sit         To demonstrate
3       fifteen minutes.          on the couch, drink, pass           that even when
                                  out.      Even      drunk—          he was smoking
        P. 197
4                                 especially drunk—I never            crack, Mr. Biden
                                  slept in my bed. I’d watch          participated   in
5                                 the TV nearly comatose,             certain business
                                  staring at it without really        activities and to
6                                 being aware of what was on.         also demonstrate
7                                 Other times, I’d cry for            what Mr. Biden
                                  hours without realizing I           means          by
8                                 was crying. I hardly ate. I         “odyssey,” which
                                  phoned it in at work, with          is the chapter
9                                 the five employees in my            which the Special
                                  office taking up the slack. I       Counsel seeks to
10
                                  sat in on some conference           admit almost the
11                                calls, canceled meetings,           entirety of.
                                  didn’t go to the office. I
12                                scratched all business trips.
                                  The only calls I took were
13                                from my daughters and my
14                                dad, who called incessantly.
                                  He’d ask how I was. I’d say
15                                fine, hang up, pass out,
                                  wake up, drink more.
16
                                    P. 107
17
18                                  Of course, it’s all delusional
                                    and self-defeating—but not
19                                  at the moment. At the
                                    moment, you can do crack
20                                  around the clock, every day,
                                    and still make your
21                                  meetings (sometimes), still
22                                  return       your         calls
                                    (sometimes), still pay your
23                                  bills (sometimes).

24                                  P. 143
25                                  Now Rhea was living with
26                                  me. I was gone much of the
                                    time, traveling for family,
27                                  or business, or just trying to
                                    disappear. But when I was
28                                  home, the two of us
                                                       7
                          DEFENDANT’S COUNTER-DESIGNATIONS FROM HIS MEMOIR
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1                                     interacted like a deranged,
                                      crack-addled version of The
2                                     Odd Couple, her Felix
3                                     Unger      neatnik    habits
                                      crashing      against   my
4                                     slobbier Oscar Madison
                                      tendencies.
5
                                      P. 147
6
7                                     In October 2016, I set out
                                      on a crack-fueled, cross-
8                                     country odyssey. . . But I
                                      was also traveling for work
9                                     constantly. My drug use
                                      accelerated in tandem with
10                                    my stress. Smoking crack
11                                    cocaine every three days
                                      soon became smoking
12                                    every two days, then every
                                      other day—then every hour
13                                    of every day. While still
                                      fairly new to the around-
14
                                      the-clock use of crack—and
15                                    still learning how to be a
                                      functional abuser at that
16                                    enhanced         scale      of
                                      addiction; still learning how
17                                    to excuse myself in the
18                                    middle of meetings every
                                      twenty or thirty minutes to
19                                    light up in the men’s
                                      room—I knew I needed to
20                                    do something before it spun
                                      out of control. At least
21                                    that’s what I told myself.
22
                                      P. 151-52
23      I used my superpower—         By now, I possessed a new        To explain the
        finding crack anytime,        superpower: the ability to       “superpower”
24      anywhere—less than a day      find crack in any town, at       which         is
        after landing at LAX in the   any time, no matter how          referenced later
25      spring of 2018.               unfamiliar the terrain. It       in Chapter Nine
26                                    was easy—risky, often            and           to
        P. 187                        frustrating, always stupid       demonstrate Mr.
27                                    and            stupendously      Biden’s state of
                                      dangerous, yet relatively        mind while he
28                                    simple if you didn’t give
                                                        8
                          DEFENDANT’S COUNTER-DESIGNATIONS FROM HIS MEMOIR
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1                                      much of a shit about your was            smoking
                                       own well-being and were crack.
2                                      desperate enough to have an
3                                      almost limitless appetite for
                                       debasement.
4
                                P. 155
5    I walked straight to my carAfter my many failed rehab             To explain that
     and slipped inside. I was  attempts, I was certain that           the reason “there
6    shaking and ashamed. Then Imy getting clean depended              was always a
7    lit up. Thirty seconds later, I
                                on more than just being told           next time” was
     was numbed and flying and  addiction is a disease and             because       Mr.
8    no longer ashamed at all—  that it requires 100 percent           Biden had not
     until the next time.       abstinence. While that                 addressed     the
9                               works for many people, and             underlying
     For months and months at times has worked for me,                 trauma          he
10
     afterward—for most of the I felt sure that underlying             struggled with.
11   next year—there was always trauma was something that I
     a next time.               needed       to     address,
12                              especially in the wake of
     P. 191                     Beau’s death.
13
14                                     P. 199

15                                     Originally developed as an
                                       animal tranquilizer and later
16                                     used for surgical anesthesia
                                       during the Vietnam War,
17                                     ketamine      has    become
18                                     widely known for its
                                       illegitimate use as a club
19                                     drug—Special K. Medical
                                       researchers have found it to
20                                     be effective in treating
                                       depression      and    post-
21                                     traumatic stress disorder.
22                                     As an extension of that, it
                                       has also been used to help
23                                     break the cycle of drug
                                       dependence. Its effect can
24                                     be      mind-bending     and
                                       hallucinatory, though in a
25                                     cogent, manageable way.
26                                     You talk your way through
                                       whatever              you’re
27                                     experiencing or seeing. For
                                       me, fears and past traumas
28                                     surfaced vividly: Beau and
                                                         9
                          DEFENDANT’S COUNTER-DESIGNATIONS FROM HIS MEMOIR
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1                                      me staying up late as kids,
                                       afraid that we’d wake in the
2                                      morning to find Dad gone. .
3                                      . The therapy’s results were
                                       disastrous. I was in no way
4                                      ready to process the feelings
                                       it unloosed or prompted by
5                                      reliving past physical and
                                       emotional traumas. So I
6                                      backslid.
7
                                       Pp. 200-201
8    It sounds absurd now, given       Subconsciously, it was the       The government
     that first day, but I came to     beginning of me falling in       is seeking to
9    California for a fresh start. I   love with the California I       admit almost the
     wanted a new place to be lost     love now, the one with           entirety        of
10
     in and a certain level of         untamed hollows and feral        Chapter      Nine:
11   anonymity. I wanted to get        creatures tucked all around.     California
     away from Washington and          Even in my ludicrous state,      Odyssey, but has
12   every bad reminder and            I kept those images in the       omitted      three
     influence there. I wanted to      back of my mind, noting          paragraphs      on
13   go someplace that wasn't          that this could someday be a     page 193.
14   always gray. I wanted a do-       refuge. This was a place         The        defense
     over. I planned to find a         full of beautiful things, if     seeks to admit
15   rental, settle in, and stay.      only I could keep my eyes        these        three
     Instead, I holed up inside the    open long enough to              paragraphs from
16   Chateau for the first six         appreciate             them.     page 193 to show
     weeks and learned how to          Sometimes I stopped and          that despite a
17   cook crack.                       composed hurried letters         brief “plan” to
18                                     about it to Beau:                settle in and stay
                                                                        in California in
     P. 191                            Dear Beau:                       2018, Mr. Biden
19
                                       It’s different here than         did not see this
20                                     either of us thought it would    through at the
                                       be. It’s not all just Beverly    time and instead
21                                     Hills on the beach. It’s         thought         of
22                                     horse       country       and    California as a
                                       mountains. There’s a real        place that “could
23                                     feeling       of      ancient    someday be a
                                       wilderness that still exists     refuge.”
24                                     here. You’d be amazed by
                                       the green of the city and
25                                     how        beautiful       the
26                                     Hollywood Hills are. Did
                                       you know there are
27                                     mountain lions and coyotes
                                       here?      I mean RIGHT
28                                     HERE? I wish we’d both
                                                         10
                          DEFENDANT’S COUNTER-DESIGNATIONS FROM HIS MEMOIR
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1                                      learned to surf. I remember
                                       when we used to say that
2                                      you, me, and Dad were
3                                      going to ride motorcycles
                                       up and down the Pacific
4                                      Coast Highway. I regret we
                                       never did. Love, Hunter
5
                                       Then I’d head back to West
6                                      Hollywood to cook and
7                                      smoke, cook and smoke.

8                                      P. 193
     It sounds absurd now, given       By the time my plane             To demonstrate
9    that first day, but I came to     touched down in Los              that Mr. Biden
     California for a fresh start. I   Angeles in March 2019, I         did not stay in
10
     wanted a new place to be lost     had no plan beyond the           California after
11   in and a certain level of         moment-to-moment                 his         2018
     anonymity. I wanted to get        demands of the crack pipe.       “odyssey” and to
12   away from Washington and          I was committed to one           show his state of
     every bad reminder and            thing: vanishing for good.       mind in early
13   influence there. I wanted to      That was my lone, next-          2019 when he
14   go someplace that wasn't          level goal. No matter how        returned       to
     always gray. I wanted a do-       low I’d been before, a voice     California.
15   over. I planned to find a         deep inside had always
     rental, settle in, and stay.      fought to pull me out of my
16   Instead, I holed up inside the    nosedive.      It’s why I’d
     Chateau for the first six         allowed my uncle Jimmy to
17   weeks and learned how to          haul me from a West
18   cook crack.                       Hollywood hotel room
                                       months earlier and escort
19   P. 191                            me to a rehab center. That
                                       turned out to be an
20                                     unsuccessful      three-week
                                       stab at sobriety, but it still
21                                     left me with a glimmer of
22                                     hope and striving to climb
                                       out of my ditch. It’s why I
23                                     sought out something as
                                       fraught and audacious as
24                                     ketamine therapy when I
                                       drove up to cold, gray
25                                     Massachusetts that winter,
26                                     as botched and pathetic as
                                       the attempt turned out to be.
27                                     I would take one step
                                       forward and ten steps
28                                     back—but I was still taking
                                                         11
                          DEFENDANT’S COUNTER-DESIGNATIONS FROM HIS MEMOIR
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1                            steps. I didn’t want to
                             drown      in    addiction’s
2                            quicksand. I did not want
3                            those attempts to fail. I just
                             couldn’t make them work. .
4                            .

5                            During the nearly four years
                             of active addiction that
6                            preceded this trip to
7                            California, which included
                             a half dozen rehab attempts,
8                            that’s what I told myself
                             after each failure. As bad as
9                            it got, I believed what Beau
                             had believed: good or bad, it
10                           was all part of the process.
11                           Stepping off the plane this
                             time at LAX, however, it
12                           was clear that all of the
                             options I once clung to were
13                           now pipe dreams.            I
                             consciously stopped even
14
                             pretending I would get
15                           better. I dove headfirst into
                             the void. . .
16
                             Disappearing was the only
17                           thing that gave me solace. It
18                           meant an end to pain. It
                             meant I didn’t need to think
19                           about how much I was
                             disappointing my brother,
20                           even though I knew Beau
                             would never think of it that
21                           way. I quit writing him
22                           letters, feeling as if I didn’t
                             have anything authentic to
23                           communicate         to     him
                             anymore.        Disappearing
24                           meant       freedom       from
                             feeling. Thinking that you
25                           have something to live for
26                           obligates you to muster the
                             courage and energy to fight.
27                           I didn’t want to fight. I
                             finally silenced the dialogue
28                           that I’d kept up inside my
                                               12
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1                               head about getting clean
                                and rebuilding my life. It
2                               was ridiculously easy; I just
3                               drowned it out with more
                                and more drugs. Now I
4                               never thought, as I always
                                had at some point in the
5                               midst of my previous
                                binges, I’m just going to do
6                               this until . . . I no longer said
7                               until. I no longer finished
                                the sentence. I gave up on
8                               everything. I stopped trying
                                to fool others into thinking I
9                               was okay. I stopped trying
                                to fool myself. . .
10
11                              My first call off the plane
                                was to a drug connection. . .
12                              The next month and a half is
                                a drug-befuddled blur.
13                              That’s not a dodge or a
                                lapse      in      memory.
14
                                Everything that followed
15                              my return to L.A. was a
                                genuine,         dictionary-
16                              definition blur of complete
                                and utter debauchery. I was
17                              doing nothing but drinking
18                              and drugging.

19                              Pp. 212-215

20
     Dated: September 4, 2024                            Respectfully submitted,
21
                                                         /s/ Mark Geragos
22                                                       Mark J. Geragos
23                                                       Tina Glandian
                                                         Setara Qassim
24
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27                                                                                           E
                                                                                             L
28                                                       Attorneys for Robert Hunter Biden   A
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